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Not for Publication                                      FILED UNDER SEAL

                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY



 WAG ACQUISITION, LLC,                      Civil Action No.: 14-2340 (ES) (MAH)

                  Plaintiff,

‘7.




 MULTI MEDIA, LLC,eIaL,

                  Defendants.



WAG ACQUISITION, LLC,                       Civil Action No.: 14-2345 (ES) (MAH)

                  Plaintiff,

V.


 DATA CONVERSIONS, INC., et aL,

                  Defendants.



WAG ACQUISITION, LLC,                       Civil Action No.: 14-2674 (ES) (MAH)

                  Plaintiff,



FLYING CROCODILE, INC., L’taL,

                  Defendants.
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VAG ACQUISITION, LLC,                      Civil Action No.: 14-2832 (ES) (MAH)

                Plaintiff,

V.


GATT VAN GROUP S.à.r.l., et at,

               Defendants.



WAG ACQUISITION. LLC,                      Civil Action No.: 14-3456 (ES) (MAH)

                Plaintiff,

V.


FRIENDFINDER NETWORKS INC., &t (it,

                Defendants.



WAG ACQUISITION, LLC,                      Civil Action No.: 14-453 I (ES) (MAlI)

                Plaintiff,



VUBEOLOGV, INC., et at,

               Defendants.



WAG ACQUISITION, LLC,                      Civil Action No.: 15-3581 (ES) (MAH)

                Plaintiff,

V.


WEBPOWER, INC., et at,
                                                ORDER ADOPTING
               Defendants.                 REPORT & RECOMMENDATION



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SALAS, DISTRICT JUDGE.

       The Court having reviewed the Report and Recommendation issued by Magistrate Judge

Michael A. Hammer, as well as the parties’ submissions, and for the reasons set forth in the Court’s

corresponding Opinion.

       IT IS on this 13th day of August. 2019,

       ORDERED as follows:

       I. The well-reasoned and thorough Report and Recommendation of Judge Hammer is

           hereby ADOPTED IN FULL;

       2. Defendants’ motion to dismiss for lack ofsubject-rnatterjurisdiction under Fed. R. Civ.

           P. 12(b)(I) is DENIED;

       3. Defendants’ motion to dismiss for improper venue pursuant to 28 U.S.C.            § 1400(b),
           1406 is DENIED;

       4. Defendants’ motion to transfer venue pursuant to 28 U.S.C.               § 1400(b), 1406 is
           GRANTED, as follows:

               a.   11’AG v. Multi Media, LLC, Civil Action No. 14-2340 is TRANSFERRED to

                    the United States District Court for the Central District of California;

               b.   W4G v. Data         Conversions. Inc..   Civil Action No. 14-2345 is TRANSFERRED

                    to the United States District Court for the District of Nevada;

               c.   W1G v. Eking Crocodile, Izic., Civil Action No. 14-2674 is TRANSFERRED

                    to the United States District Court [‘or the Western District of Washington:

              d.    lIE1G    i’.   Eriendfinder Vetwo;*s Inc..         Civil   Action No.   14-3456   is

                    TRANSFERRED to the United States District Court for the Northern District

                    of Cal i forni a;



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             e.   1MG v. Vztbcologv,   inc..   Civil Action No. 14-4531 is TRANSFERRED to the

                  United States District Court for the Western District of Texas; and

             f.   WAG v. fvcbpowcr, Inc., Civil Action No. 15-3581 is TRANSFERRED to the

                  United States District Court for the Southern District of Florida.

      5. In WAG Acquisition LLC v. Gut! van Group Sari, Civ. No. 14-2832, Plaintiff’s cross-

         motion to dismiss Defendant Doeler-U.S. under Fed. R. Civ. P. 41(a)(2) without

         prejudice is GRANTED and Defendants’ motion to transfer pursuant to 28 U.S.C.

         § 1404(a) is DENIED.
      6. The Clerk of the Court shall TERMINATE the following docket entries:

             a.   Civil Action No. 4-2340, D.E. No. 75;

             b. Civil Action No. 14-2345, D.E. No. 160;

            c. Civil Action No. 14-2674, D.E. No. 153;

            d. Civil Action No. 14-2832. D.E. No. 168;

            e. Civil Action No. 14-3456. D.E. No. 158;

            f.    Civil Action No. 14-4531, D.E. No. 138; and

            g. Civil Action No. 15-3581. D.E. No. 124.

      SO ORDERED.



                                                            s/Esther Sn/as
                                                            Esther Salas, U.S.D.J.




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